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                     12 Thomas A. Seaman
                     13                           UNITED STATES DISTRICT COURT
                     14                         CENTRAL DISTRICT OF CALIFORNIA
                     15                                  WESTERN DIVISION
                     16 SECURITIES AND EXCHANGE                  Case No. 2:15-cv-07425 RGK PLA
                        COMMISSION,
                     17                                          [PROPOSED] ORDER GRANTING
                                   Plaintiff,                    ELEVENTH INTERIM FEE
                     18                                          APPLICATION OF THE RECEIVER,
                             v.                                  FOR PAYMENT OF FEES AND
                     19                                          REIMBURSEMENT OF EXPENSES
                        STEVE CHEN, USFIA, INC.,
                     20 ALLIANCE FINANCIAL                       Date:    September 24, 2018
                        GROUP, INC., AMAUCTION, INC.,            Time:    9:00 a.m.
                     21 ABORELL MGMT I, LLC, ABORELL             Ctrm.:   850
                                                                 Judge:   Hon. R. Gary Klausner
                     22 ADVISORS I, LLC, ABORELL
                        REIT II, LLC, AHOME REAL
                     23 ESTATE, LLC, ALLIANCE
                        NGN, INC., APOLLO REIT I, INC.,
                     24 APOLLO REIT II, LLC, AMKEY, INC.,
                     25 US CHINA CONSULTATION
                        ASSOCIATION, and QUAIL RANCH
                     26 GOLF COURSE, LLC,
                     27                    Defendants.
                     28
       LAW OFFICES
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                      1               The Eleventh Interim Fee Application of Thomas A. Seaman ("Receiver"),
                      2 the Court-appointed receiver for Defendants USFIA, Inc., Alliance Financial
                      3 Group, Inc., Amauction, Inc., Aborell Mgmt I, LLC, Aborell Advisors I, LLC,
                      4 Aborell REIT II, LLC, Ahome Real Estate, LLC, Alliance NGN, Inc., Apollo
                      5 REIT I, Inc., Apollo REIT II, LLC, Amkey, Inc., US China Consultation
                      6 Association, Quail Ranch Golf Course, LLC, and their subsidiaries and affiliates
                      7 (collectively, "Receivership Entities"), for Payment of Fees and Reimbursement of
                      8 Expenses ("Application") came on for hearing on September 24, 2018.
                      9 Appearances were as noted on the record.
                     10               The Court having received and read the Application, including any supporting
                     11 declarations and objections filed therein, and being so advised in the matter and
                     12 finding good cause, orders as follows:
                     13               IT IS ORDERED that the Receiver's Application is granted.
                     14               IT IS FURTHER ORDERED that the Receiver's fees for the Eleventh
                     15 Application Period are allowed and approved, on an interim basis, in the amount of
                     16 $147,190.
                     17               IT IS FURTHER ORDERED that the Receiver is authorized and directed to
                     18 pay himself $132,471 in fees from assets of the receivership estate, which amount
                     19 reflects an interim payment of 90% of the allowed fees.
                     20
                     21 Dated:
                                                                        Hon. R. Gary Klausner
                     22                                                 Judge, United States District Court
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